Case 3:15-cr-02310-WQH    Document 131   Filed 02/03/16   PageID.308      Page 1 of 1
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                                                             CLERK US DISTRICT COURT
                                                          SOUTHERN DISTRICT OF CALIFORNIA
 2                                                        BY                  ~'CEPUTY


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 6                        UNITED STATES DISTRICT COURT
 7                       SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA                  Case No. 15CR231 0-WQH
 9                                             JUDGMENT AND ORDER
                                               DISMISSING INDICTMENT
10       v.                                    WITHOUT PREJUDICE AND
                                               RECALLING WARRANT FOR
11   BRYAN MATAYA (21)                         ARREST
12                  Defendant.
13
14       For good cause shown, it is ORDERED that the indictment is DISMISSED
15   WITHOUT PREJUDICE as to defendant BRYAN MATAYA (21) only and the
16   WARRANT FOR ARREST of BRYAN MATAYA is RECALLED.
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18       DATED:    ~b
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